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                                                              COMPLAINT
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                      1                    IN THE UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                      2

                      3    NOKIA TECHNOLOGIES OY,                       Civil Action No. 2:25-cv-3053
                      4
                                          Plaintiff,                    ORIGINAL COMPLAINT FOR:
                      5
                                 v.                                     (1) Infringement of U.S. Patent
                      6
                           ASUSTEK COMPUTER INC.,                           No. 10,536,714;
                      7    ASUS GLOBAL PTE LTD., AND                    (2) Infringement of U.S. Patent
                           ASUS COMPUTER                                    No. 11,805,267;
                      8
                           INTERNATIONAL,                               (3) Infringement of U.S. Patent
                      9                                                     No. 8,050,321;
                                         Defendant.                     (4) Infringement of U.S. Patent
                     10
                                                                            No. 9,036,701;
                     11                                                 (5) Infringement of U.S. Patent
                                                                            No. 7,532,808;
                     12
                                                                        (6) Declaratory Judgment re Good
                     13                                                     Faith Negotiations;
                                                                        (7) Declaration Judgment re
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                     14
                                                                            Breach of Obligations
                     15

                     16                                                 Jury Trial Demanded

                     17

                     18         Plaintiff Nokia Technologies Oy (“Nokia,” or “Plaintiff”) files this Original
                     19   Complaint against ASUSTek Computer Inc., ASUS Global Pte Ltd., and ASUS
                     20   Computer International (“ASUS” or “Defendants”) and allege as follows:
                     21                                NATURE OF THE ACTION
                     22         1.    Nokia’s patent portfolio includes claims essential to decoding video
                     23   according to the H.264 Advanced Video Coding (“H.264”) and H.265 High
                     24   Efficiency Video Coding (“H.265”) Standards promulgated by the International
                     25   Telecommunications Union (“ITU”). The H.264 and H.265 Standards are some of
                     26   the most widely used video decoding standards in the world. Nokia’s patents also
                     27   include claims relating to encoding video.
                     28

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                      1          2.     ASUS’s unlicensed products (which support and implement, for
                      2   example, H.264 and H.265 decoding), including without limitation ASUS’s
                      3   laptops, desktop computers, and handheld gaming devices (“Accused Products”),
                      4   infringe Nokia’s Asserted Patents (defined below).
                      5          3.     Nokia is a leading innovator in video coding technology with one of
                      6   the strongest video coding patent portfolios in the world. Nokia’s patented
                      7   inventions allow video to be transmitted and received over communications
                      8   networks, such as Wi-Fi or cellular networks, with high quality and dramatically
                      9   lower bandwidth requirements, and minimize the amount of data it takes to receive
                     10   and store these videos on mobile devices, such as laptops and tablets.
                     11          4.     ASUS currently benefits and has benefitted greatly from Nokia’s
                     12   innovations, which among other things enable ASUS products to stream, playback,
                     13   and capture high quality video more efficiently and effectively.
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                     14          5.     Dozens of companies have taken licenses to Nokia’s essential patent
                     15   claims at rates that are reasonable and non-discriminatory. Yet ASUS has refused
                     16   to take a license to Nokia’s H.264 and H.265 essential decoding patent claims.
                     17   ASUS’s failure to negotiate in good faith to reach an agreement on terms for a
                     18   license to Nokia’s standard essential patent claims for the relevant standards
                     19   (including Nokia’s patented H.264 and H.265 technologies) has forced Nokia to
                     20   institute this lawsuit.
                     21                                          PARTIES
                     22          6.     Plaintiff Nokia Technologies Oy (“Nokia Tech”) is a foreign
                     23   corporation organized under the laws of Finland, with its principal place of
                     24   business at Karakaari 7, FIN-02610, Espoo, Finland. Nokia Tech is a wholly-
                     25   owned subsidiary of Nokia Corporation (“Nokia Corp.”), and is the sole owner by
                     26   assignment of all right, title, and interest in U.S. Patent Nos. 10,536,714;
                     27   11,805,267; 8,050,321; 9,036,701; and 7,532,808 (the “Asserted Patents”).
                     28

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                                                                 COMPLAINT
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                      1          7.       On information and belief, ASUSTek Computer Inc. is a corporation
                      2   organized under the laws of Taiwan, with a principal place of business at No. 15,
                      3   Li-Te Road, Beitou District, Taipei 112. Taiwan.
                      4          8.       On information and belief, ASUS Global Pte Ltd. is a corporation
                      5   organized under the laws of Singapore, with its principal place of business at 15A
                      6   Changi Business Park Central 1, #05-01 Eightrium, Singapore 486035.
                      7          9.       On information and belief, ASUS Computer International is a
                      8   corporation organized under the laws of California, with its principal place of
                      9   business at 48720 Kato Road, Fremont, CA 94538.
                     10          10.      On information and belief, ASUS Computer International conducts
                     11   business at least through its office located in this District at 17800 Castleton Street
                     12   #690, City of Industry, CA 91748.
                     13                               JURISDICTION AND VENUE
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                     14          11.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331
                     15   and 1332.
                     16          12.      The Court has specific personal jurisdiction over ASUS because
                     17   ASUS has committed acts of infringement in this District.
                     18          13.      This Court has exclusive subject matter jurisdiction over the patent
                     19   infringement claims in this case under 28 U.S.C. §§ 1331 and 1338.
                     20          14.      This Court has supplemental jurisdiction over all claims other than the
                     21   patent infringement claims in this case under 28 U.S.C. § 1367(a).
                     22          15.      This Court has jurisdiction over Counts VI (Declaratory Judgment
                     23   that Nokia Negotiated in Good Faith Toward a License with ASUS and Complied
                     24   with its RAND Commitments) and Count VII (Breach of ASUS’s Obligation to
                     25   Negotiate in Good Faith Toward a License with Nokia) under 28 U.S.C. §§ 2201
                     26   and 2202. An actual controversy over Counts VI and VII exists between the parties
                     27   to this case.
                     28

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                      1         16.    This Court has personal jurisdiction over Defendants because they
                      2   have, directly and/or through agents and/or intermediaries, committed acts and
                      3   continue to commit acts of patent infringement, including within California, giving
                      4   rise to this action and have established minimum contacts with California such that
                      5   the exercise of jurisdiction would not offend traditional notions of fair play and
                      6   substantial justice. Defendants, directly and/or indirectly at least through agents
                      7   and intermediaries, have committed and continue to commit acts of infringement
                      8   in this District by, among other things, making, using, selling, offering to sell, and
                      9   importing the Accused Products.
                     10         17.    On information and belief, Defendants regularly conduct business in
                     11   California, including in this District, and purposefully avail themselves of the
                     12   privileges of conducting business in California and this District. In particular, on
                     13   information and belief, Defendants, and/or their agents and/or intermediaries,
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                     14   make, use, import, offer for sale, sell, and/or advertise their products and affiliated
                     15   services in California and this District, including but not limited to the Accused
                     16   Products, sufficient to give rise to jurisdiction. On information and belief,
                     17   Defendants have placed and continue to place Accused Products into the stream of
                     18   commerce, via an established distribution channel, with the knowledge and/or
                     19   understanding that such products are sold in the United States, including in
                     20   California, and specifically including in this District.
                     21         18.    On information and belief, Defendants derive substantial revenue
                     22   from the sale of Accused Products distributed within California, including within
                     23   this District, and/or expect or should reasonably expect their actions to have
                     24   consequences in California. In addition, on information and belief, Defendants
                     25   knowingly induce, and continue to knowingly induce, infringement of the Asserted
                     26   Patents within California and within this District by offering for sale, selling,
                     27   and/or contracting with others to market Accused Products with the intent to
                     28   facilitate infringing use of the products by others and by creating and/or

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                                                                COMPLAINT
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                      1   disseminating product information and other materials providing instruction for
                      2   infringing use.
                      3          19.   Defendants’ infringing activity has led to foreseeable harm and injury
                      4   to Nokia.
                      5          20.   Venue is proper under 28 U.S.C. § 1391 and 28 U.S.C. § 1400(b).
                      6   Defendants ASUSTek Computer Inc. and ASUS Global Pte Ltd. do not reside in
                      7   the United States, and thus venue is appropriate in this District under 28 U.S.C.
                      8   § 1391(c)(3). In addition to the facts set forth above, Defendant ASUS Computer
                      9   International has committed acts of infringement in this District and has a regular
                     10   and established place of business in this District, including at least because it
                     11   conducts business at least through its office located in this District at 17800
                     12   Castleton Street #690, City of Industry, CA 91748.
                     13     I.   NOKIA’S INVESTMENT IN VIDEO CODING STANDARDS AND
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                     14          RESULTING PATENT CLAIMS
                     15          21.   Nokia has consistently been one of the major contributors to wireless
                     16   communication, audio, and video standards and technologies that enable many
                     17   features that are commonplace and expected of today’s consumer electronics.
                     18          22.   In early 1998, the Video Coding Experts Group (“VCEG”) of the
                     19   International Telecommunication Union-Telecommunication (ITU-T) issued a call
                     20   for proposals on a project called H.26L, the “L” standing for “long term.”
                     21          23.   The development of H.26L eventually led to ITU-T Recommendation
                     22   H.264 Advanced Video Coding for Generic Audiovisual Services (“the H.264
                     23   Standard”). Thereafter, work began on the successor to the H.264 Standard, which
                     24   published as ITU-T Recommendation H.265 High Efficiency Video Coding (“the
                     25   H.265 Standard”). Nokia, a video coding innovator, contributed numerous
                     26   innovations to the development of these video decoding standards. In addition,
                     27   Nokia has developed many other video coding technologies.
                     28

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                      1         24.    Over the last few decades, internet traffic has evolved from simple,
                      2   text-based interfaces to a plethora of media, including video. As technology has
                      3   evolved, the importance and use of video has skyrocketed. Video coding
                      4   technologies, including the H.264 and H.265 Standards, are crucial to the
                      5   development and evolution of modern communication particularly as video traffic
                      6   has become an increasingly outsized share of total consumer Internet traffic.
                      7         25.    The H.264 and H.265 Standards enable efficient and reliable video
                      8   decoding in millions of devices, including computers. The H.264 and H.265
                      9   Standards reduce the amount of data needed to decode digital video and are the
                     10   two most prominent video decoding standards in the world. These advances in
                     11   video coding technology were made possible by the work of Nokia and other video
                     12   coding innovators.
                     13         26.    The H.264 Standard, first released in 2003, was designed to decode
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                     14   high quality video using lower bit rates than previous standards. The H.264
                     15   Standard is flexible enough to implement across a variety of applications,
                     16   networks, and systems and offers vastly improved performance over previous
                     17   standards, such as MPEG-2 and MPEG-4 Part 2.
                     18         27.    The H.265 Standard, first released in 2013, built on the H.264
                     19   Standard in several key respects. The H.265 Standard enables consumers to decode
                     20   video with even less bandwidth than before and to decode higher quality video in
                     21   higher resolutions.
                     22         28.    Over the past several years, video has become the main form of
                     23   internet traffic, coinciding with, for example, the rise in popularity of internet and
                     24   social media apps. In 2022, for example, video was estimated to be 82% of global
                     25   consumer internet traffic.
                     26         29.    Nokia Corp., together with its wholly owned subsidiaries, has
                     27   cumulatively invested billions of dollars in research and development relating to
                     28   mobile communications and video coding technologies and, because of this

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                      1   commitment, currently owns more than 20,000 patents worldwide. These include
                      2   many patents, including some of the Asserted Patents, with claims essential to the
                      3   H.264 and H.265 Standards.
                      4    II.   NOKIA’S COMPLIANCE WITH THE ITU COMMON PATENT
                      5          POLICY AND NOKIA’S RELEVANT DECLARATIONS
                      6          A.    The ITU and the H.264 and H.265 Standardization Process
                      7          30.   Certain claims of Nokia’s patents relate to the H.264 and H.265
                      8   Standards.
                      9          31.   The ITU and the International Standards Organization (“ISO”) jointly
                     10   published a standard referred to as “H.264,” “MPEG-4 part 10,” or “Advanced
                     11   Video Coding” (the “H.264 Standard”). The H.264 Standard development process
                     12   was initiated by Video Coding Experts Group (“VCEG”) and finalized by the Joint
                     13   Video Team (“JVT”), which was a collaborative effort between VCEG and the
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                     14   Moving Picture Experts Group (“MPEG”).
                     15          32.   Following publication of the H.264 Standard, the Joint Collaborative
                     16   Team on Video Coding (“JCT-VC”) began work on the H.265 Standard. The
                     17   H.265 Standard, which is also known as “MPEG-H Part 2” or “High Efficiency
                     18   Video Coding,” represents the next step for video quality and coding efficiency
                     19   after the widely successful H.264 Standard.
                     20          33.   The ITU was formed in 1865 at the International Telegraph
                     21   Convention and, in 1947; it became a specialized agency of the United Nations,
                     22   responsible for issues that concern information and communication technologies.
                     23   The ITU handles a variety of matters and thus is organized into various sectors.
                     24   One of the sectors is Telecommunication Standardization or “ITU-T.” The mission
                     25   of ITU-T is to ensure efficient and timely production of standards related to the
                     26   field of telecommunications. The standards developed by ITU-T are referred to as
                     27   “Recommendations.”
                     28

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                      1         34.    Within ITU-T, members come together and propose technological
                      2   solutions for inclusion in the draft Recommendations. The goal is to draft
                      3   Recommendations that incorporate the best available technology to ensure that the
                      4   standards are of a high quality. The H.264 and H.265 Standards described above
                      5   are detailed in the H.264 and H.265 Recommendations.
                      6         35.    The contributions that are ultimately included in a Recommendation
                      7   are often covered by one or more patent claims, and thus the ITU developed the
                      8   Common Patent Policy to assist with usage of patented technologies in its
                      9   standards.
                     10         36.    The ITU published Guidelines for Implementation of the Common
                     11   Patent Policy (“the Guidelines”). The Guidelines explain that the Common Patent
                     12   Policy “was drafted in its operative part as a checklist, covering the three different
                     13   cases which may arise if a Recommendation | Deliverable requires licenses for
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                     14   Patents to be practiced or implemented, fully or partly.” [“Guidelines for
                     15   Implementation of the Common Patent Policy for ITU-T/ITURIISOIIEC,” ITU,
                     16   Rev. 4 (Dec. 16, 2022) https://www.itu.int/itudoc/itu-t/patents/policy/guide.pdf].
                     17         37.    The Common Patent Policy states:
                     18                2. If a Recommendation | Deliverable is developed and such
                     19                information as referred to in paragraph 1 has been disclosed, three
                     20                different situations may arise:
                     21                2.1 The patent holder is willing to negotiate licences free of charge
                     22                with other parties on a non-discriminatory basis on reasonable terms
                     23                and conditions. Such negotiations are left to the parties concerned and
                     24                are performed outside ITU-T/ITU-R/ISO/IEC.
                     25                2.2 The patent holder is willing to negotiate licences with other parties
                     26                on a non-discriminatory basis on reasonable terms and conditions.
                     27                Such negotiations are left to the parties concerned and are performed
                     28                outside ITU-T/ITU-R/ISO/IEC.

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                      1                 2.3 The patent holder is not willing to comply with the provisions of
                      2                 either paragraph 2.1 or paragraph 2.2; in such case, the
                      3                 Recommendation | Deliverable shall not include provisions
                      4                 depending on the patent.
                      5

                      6                 3. Whatever case applies (2.1, 2.2 or 2.3), the patent holder has to
                      7                 provide a written statement to be filed at ITU-TSB, ITU-BR or the
                      8                 offices of the CEOs of ISO or IEC, respectively, using the appropriate
                      9                 “Patent Statement and Licensing Declaration” form. This statement
                     10                 must not include additional provisions, conditions, or any other
                     11                 exclusion clauses in excess of what is provided for each case in the
                     12                 corresponding boxes of the form.
                     13    [“Common Patent Policy for ITU-TIITU-RIISOIIEC,” ITU (2022),
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                     14    https://www.itu.int/en/ITU-T/ipr/Pages/policy.aspx].
                     15          38.    The Guidelines define the term “Patent” to be “those claims contained
                     16    in and identified by patents, utility models and other similar statutory rights based
                     17    on inventions (including applications for any of these) solely to the extent that any
                     18    such claims are essential to the implementation of a Recommendation |
                     19    Deliverable. Essential patents are patents that would be required to implement a
                     20    specific Recommendation | Deliverable.” [“Guidelines for Implementation of the
                     21    Common Patent Policy for ITU-T/ITURIISOIIEC,” ITU, Rev. 4 (Dec. 16, 2022)
                     22    https://www.itu.int/itudoc/itu-t/patents/policy/guide.pdf].   The    definition   of
                     23    “Patent” provided by the Guidelines is mirrored in the Patent Statement and
                     24    Licensing Declaration Form that is completed by patent holders who may have
                     25    patent claims essential to the H.264 or H.265 standards. The Patent Statement and
                     26    Licensing Declaration Form states that identifying specific patents on the form is
                     27    optional but not required. The ITU thus deems “essential” only patent claims that
                     28    are essential or necessary for implementation of a specific Recommendation.

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                      1          39.    The H.264 Recommendation specifies the implementation of
                      2    decoders and specifically defines the “decoding process” as “[t]he process
                      3    specified in this Recommendation | International Standard that reads a bitstream
                      4    and derives decoded pictures from it.” Ex. 1 at 6 [Recommendation ITU-T H.264].
                      5    It does not, however, specify the implementation of encoders. The H.264
                      6    Recommendation defines “encoding process” as “[a] process, not specified in this
                      7    Recommendation | International Standard, that produces a bitstream conforming
                      8    to this Recommendation | International Standard.” Id.
                      9          40.    Similarly,   the   H.265     Recommendation      only   specifies   the
                     10    implementation of decoders. See Ex. 2 at 5 [Recommendation ITU-T H.265]
                     11    (defining (i) “decoding process” as “[t]he process specified in this Specification
                     12    that reads a bitstream and derives decoded pictures from it” and (ii) “encoding
                     13    process” as “[a] process not specified in this Specification that produces a
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                     14    bitstream conforming to this Specification.”).
                     15          B.     Nokia’s Compliance with the ITU Common Patent Policy and
                     16                 Nokia’s Relevant Declarations
                     17          41.    Nokia protects its investments in research and development with
                     18    intellectual property. Nokia owns many patents related to video decoding
                     19    technology, and it continues to develop and secure intellectual property as it
                     20    innovates in this industry. By voluntarily contributing its research and development
                     21    innovations to the standard-setting process at the ITU—through technical
                     22    contributions in standardization meetings—Nokia has a large number of patent
                     23    claims essential to the H.264 and H.265 Standards. Industry members attending
                     24    the standardization meetings chose to adopt Nokia’s technology into the standards
                     25    because of its benefits and merit.
                     26          42.    Nokia has committed that it is prepared to grant licenses for decoding
                     27    according to the H.264 and H.265 Standards to any patent claims essential to the
                     28

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                      1    H.264 and H.265 Standards on reasonable and non-discriminatory (RAND) terms
                      2    and conditions.
                      3          43.     Consistent with the ITU Common Patent Policy, Nokia timely
                      4    notified standard setting participants that Nokia may obtain patents on its
                      5    contributions, including by submitting Patent Statement and Licensing
                      6    Declarations to the ITU in which Nokia declares in good faith that it is prepared to
                      7    grant licenses to the essential claims of the relevant patents on RAND terms and
                      8    conditions.
                      9          C.      Nokia’s Negotiations with ASUS
                     10          44.     Nokia has been negotiating with ASUS in a good faith effort to license
                     11    Nokia’s H.264- and H.265-related patents (“Nokia’s Video Patents”) since 2017.
                     12    In that time, ASUS has sold hundreds of millions of infringing products but has
                     13    paid no royalties. Nokia has made offers to ASUS consistent with licenses agreed
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                     14    to by over 50 companies, but the parties have been unable to reach agreement.
                     15    Nokia sent ASUS lists of patents with claims relating to H.264 and H.265 decoding
                     16    and to encoding video into H.264 and H.265-compliant formats. Nokia also
                     17    provided ASUS with exemplary H.265 decoding claim charts and extended
                     18    multiple license offers to ASUS. On January 3, 2025, Nokia sent ASUS license
                     19    offers covering its patent claims relating to decoding H.264- and H.265-compliant
                     20    video and encoding video into H.264- and H.265-compliant formats.
                     21          45.     On March 14, 2025, Nokia provided ASUS with an anonymized
                     22    licensee list indicating that Nokia has entered license agreements to the Nokia
                     23    Video Patents at rates consistent with those offered to ASUS.
                     24          46.     Over the course of the parties’ negotiations, Nokia has negotiated in
                     25    good faith in an effort to conclude a license to Nokia’s Video Patents with ASUS
                     26    on RAND terms.
                     27          47.     ASUS has not accepted any of Nokia’s license offers. To this day,
                     28    ASUS has not paid a single royalty for its infringement of Nokia’s Video Patents

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                      1    despite Nokia’s good faith efforts to negotiate. ASUS’s continued unauthorized
                      2    use of Nokia’s patents has prompted Nokia to seek the relief detailed in this
                      3    Complaint.
                      4    III.   THE NOKIA ASSERTED PATENTS
                      5           48.   Nokia complied with any applicable marking requirements under 35
                      6    U.S.C. § 287(a) at least because the asserted method claims do not require marking
                      7    and/or there is nothing to mark.
                      8           A.    U.S. Patent No. 10,536,714 (“the ’714 Patent”)
                      9           49.   Nokia owns by assignment the entire right, title, and interest in and to
                     10    the ’714 Patent entitled “Method for Coding and an apparatus” issued on January
                     11    14, 2020, to inventors Mehmet Oguz Bici, Jani Lainema, and Kemal Ugur. The
                     12    ’714 Patent issued from U.S. Patent Application No. 16/356,733, filed on March
                     13    18, 2019, which is a continuation of application No. 15/681,725, filed on August
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                     14    21, 2017 (now U.S. Patent No. 10,237,574), which is a continuation of application
                     15    No. 15/426,822, filed on February 7, 2017 (now U.S. Pat. No. 9,743,105), which
                     16    is a continuation of application No. 13/666,680, filed on November 1, 2012 (now
                     17    U.S. Patent No. 9,571,833), which claims priority to U.S. Provisional Application
                     18    No. 61/555,703, filed on November 4, 2011. The ’714 Patent expires on November
                     19    1, 2032. A true and correct copy of the ’714 Patent is attached as Exhibit 1.
                     20           50.   The ’714 Patent is not directed to merely an abstract idea or any
                     21    patent-ineligible concept. Instead, the ’714 Patent provides improvements over
                     22    conventional video coding motion compensation techniques that result in
                     23    substantial benefits to video compression, video quality, and video playback. These
                     24    substantial benefits are enjoyed by users of Acer’s products when, for example,
                     25    watching video over the Internet.
                     26           51.   Encoders compress video into a representation suitable for storage or
                     27    transmission. ’714 Patent at 1:32-36. Decoders can decompress the compressed
                     28    representation into viewable form. Id. As described in the ’714 Patent, decoders

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                      1    reconstruct output video by applying a prediction mechanism “using the motion or
                      2    spatial information … stored in the compressed representation of the image” and
                      3    prediction error decoding “the inverse operation of the prediction error coding to
                      4    recover the quantized prediction error signal in the spatial domain.” Id. at 2:4-12.
                      5    The decoder “may also apply additional filtering processes in order to improve the
                      6    quality of the output video.” Id. at 2:16-18.
                      7          52.    Typical encoders encode video information in two phases. In the first
                      8    phase, pixel values can be predicted, for example, by motion compensation
                      9    mechanisms, which involve finding and indicating an area in one of the previously
                     10    coded video frames that corresponds closely to the block being coded. Id. at 1:43-
                     11    49. Additionally, pixel values can be predicted via by spatial mechanisms, which
                     12    involve using the pixel values around the block to be coded in a specified manner.
                     13    Id. at 1:49-52. The second phase involves coding the prediction error (i.e., the
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                     14    difference between the predicted block of pixels and the original block of pixels),
                     15    which involves transforming the difference in pixel values using a specified
                     16    transform (e.g., a Discrete Cosine Transform (DCT) or a variant thereof),
                     17    quantizing the coefficients, and entropy coding the quantized coefficients. Id. at
                     18    1:58-64.
                     19          53.    As described in the ’714 Patent, motion information is indicated by
                     20    motion vectors associated with each motion compensated image block that
                     21    represent the displacement of the image block in the picture to be encoded or
                     22    decoded. Id. at 2:59-65. Motion vectors can be explicitly signaled or predicted from
                     23    previously coded information. One method used by conventional systems to
                     24    determine motion vectors was to predict them in a predefined way, for example by
                     25    calculating the median of the motion vectors of the adjacent blocks. Id. at 2:67-3:4.
                     26    Another method used was to generate a list or a set of candidate predictions from
                     27    blocks in the current frame and/or co-located blocks, or other blocks in temporal
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                      1    reference pictures and signaling the chosen candidate as the motion vector
                      2    prediction. Id. at 3:5-9.
                      3           54.    Prior to the ’714 Patent, one significant problem was that after a list
                      4    of the motion vector prediction candidates was generated, some of the motion
                      5    vector prediction candidates may have the same motion information, which created
                      6    redundancy. Id. at 3:66-4:3. Another problem was the computational complexity
                      7    of creating such a list.
                      8           55.    The ’714 Patent overcame these technical challenges in the prior
                      9    systems by inventing a method that recognized that the size of the motion vector
                     10    prediction candidates list could be reduced and computational complexity
                     11    associated with exhaustive comparison ameliorated by determining to include or
                     12    exclude motion vector prediction candidates based on a non-exhaustive
                     13    comparison to other candidates determined based on the location of the block
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                     14    associated with the candidate under consideration. Id. at 4:19-39. The ’714 Patent
                     15    employs the unconventional solution of obtaining spatial candidates from the
                     16    motion information of spatial neighbor blocks, for example, and performing a
                     17    limited number of motion information comparisons between candidate pairs to
                     18    remove the redundant candidates before adding them to a motion vector candidate
                     19    list rather than comparing every available candidate pair, which reduces
                     20    complexity and redundancy. Id. at 4:19-39. The ’714 Patent also enables a
                     21    reduction of computational complexity in creating motion vector prediction
                     22    candidate lists. Id. at 4:20-23.
                     23           56.    The    ’714   Patent   therefore   provides   specific   technological
                     24    improvements to the functionality and capabilities of video decoding and encoding
                     25    technologies that result in reduced complexity and improved prediction accuracy,
                     26    which in turn reduces the information needed to be transmitted and received for
                     27    successful playback of video. Id. at 4:20-23, 8:24-27.
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                      1          57.     Conventional technology prior to the ’714 Patent was not capable of,
                      2    for example, determining a subset of spatial motion vector prediction candidates
                      3    based on a location of the block associated with the first spatial motion vector
                      4    prediction candidate, or determining to include or exclude the first spatial motion
                      5    vector prediction candidate in the motion vector prediction list based on comparing
                      6    motion information of the first spatial motion vector prediction candidate with
                      7    motion information of a limited number of other spatial motion vector prediction
                      8    candidates without making a comparison of each possible candidate pair from the
                      9    set of spatial motion vector prediction candidates.
                     10          58.     The ’714 Patent recognizes and solves these specific technological
                     11    problems that plagued the conventional technology at the time. The ’714 Patent’s
                     12    ability to determine a subset of spatial motion vector prediction candidates based
                     13    on a location of the block associated with a first spatial motion vector prediction
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                     14    candidate and ability to determine to include or exclude the first spatial motion
                     15    vector prediction candidate in the motion vector prediction list based on comparing
                     16    motion information of the first spatial motion vector prediction candidate with
                     17    motion information of a limited number of other spatial motion vector prediction
                     18    candidates without making a comparison of each pair from the set of spatial motion
                     19    vector prediction candidates was a significant advancement over existing
                     20    technology.
                     21          59.     The novel solution of the ’714 Patent, including determining a subset
                     22    of spatial motion vector prediction candidates based on a location of the block
                     23    associated with a first spatial motion vector prediction candidate and determining
                     24    to include or exclude the first spatial motion vector prediction candidate in the
                     25    motion vector prediction list based on comparing motion information of the first
                     26    spatial motion vector prediction candidate with motion information of a limited
                     27    number of other spatial motion vector prediction candidates without making a
                     28    comparison of each of each possible candidate pair from the set of spatial motion

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                      1    vector prediction candidates, was not well-understood, routine, or conventional,
                      2    nor was it simply comprised of well-understood, routine, and conventional
                      3    activities previously known to the industry. Furthermore, the ordered combination
                      4    of elements, including determining spatial motion vector prediction candidates
                      5    based on a location of the block associated with a first spatial motion vector
                      6    prediction candidate and determining to include or exclude the first spatial motion
                      7    vector prediction candidate in the motion vector prediction list based on comparing
                      8    motion information of the first spatial motion vector prediction candidate with
                      9    motion information of a limited number of other spatial motion vector prediction
                     10    candidates without making a comparison of each pair from the set of spatial motion
                     11    vector prediction candidates, was not well-understood, routine, or conventional.
                     12          B.     U.S. Patent No. 11,805,267 (“the ’267 Patent”)
                     13          60.    Nokia owns by assignment the entire right, title, and interest in and to
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                     14    the ’267 Patent entitled “Motion Prediction in Video Coding” issued on October
                     15    31, 2023, to inventors Kemal Ugur, Jani Lainema, and Antti Hallapuro. The ’267
                     16    Patent issued from U.S. Patent Application No. 21/281,869, filed on May 24, 2021.
                     17    The ’267 Patent is a continuation of application No. 16/729,974, filed on Dec. 30,
                     18    2019 (now Pat. No. 11,019,354), which is a continuation of application No.
                     19    15/876,495, filed on Jan. 22, 2018 (now Pat. No. 10,523,960), which is a
                     20    continuation of application No. 15/490,469, filed on Apr. 18, 2017, (now Pat. No.
                     21    9,877,037), which is a continuation of application No. 15/250,124, filed on Aug.
                     22    29, 2016, (now Pat. No. 9,628,816), which is a continuation of application No.
                     23    13/344,893, filed on Jan. 6, 2012, (now Pat. No. 0,432,693), which claims priority
                     24    to U.S. Provisional Application No. 61/430,694, filed on Jan. 7, 2011. The ’267
                     25    Patent expires on January 6, 2032. A true and correct copy of the ’267 Patent is
                     26    attached as Exhibit 2.
                     27          61.    The ’267 Patent is not directed to merely an abstract idea or any
                     28    patent-ineligible concept. Instead, the ’267 Patent provides improvements over

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                      1    conventional video coding techniques that result in substantial benefits to video
                      2    compression, video quality, and video playback. These substantial benefits are
                      3    enjoyed by users of ASUS’s products when, for example, watching video over the
                      4    Internet.
                      5          62.    Encoders compress video into representations suitable for storage or
                      6    transmission. ’267 Patent at 1:26-33. Decoders can decompress the compressed
                      7    video representations into viewable form. Id. One compression technique used to
                      8    reduce the size of an encoded bitstream is called “Motion Compensated Prediction
                      9    (MCP).” Id. at 2:20-34. In MCP, a prediction for a current frame is formed using a
                     10    previously coded frame or using multiple previously coded frames. Id. An example
                     11    of a frame that is predicted using multiple previously coded frames is called a “B-
                     12    picture.” B-pictures are bi-predicted (or bi-directional prediction) pictures which
                     13    use two other pictures as reference pictures, or two prediction blocks within one
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                     14    reference picture. Id. at 2:35-51.
                     15          63.    As described in the ’267 Patent, in bi-prediction, the prediction signal
                     16    of the block may be formed by averaging two motion compensated prediction
                     17    blocks, followed by either up or down rounding, which may introduce rounding
                     18    errors. Id. at 3:41-55.
                     19          64.    Prior to the ’267 Patent, one significant problem was that the
                     20    accumulation of rounding errors in bi-directional prediction degraded the coding
                     21    efficiency. Id. at 3:56-65. Conventional technology attempted to remove or
                     22    decrease this rounding error accumulation by signaling whether rounding up or
                     23    rounding down was used or, alternatively, by alternating the usage of the rounding
                     24    up and rounding down for each frame. Id. However, such prior methods had
                     25    shortcomings, at least because they increased the complexity of the process, as two
                     26    separate code branches were required and the motion estimation routines in the
                     27    encoder had to be doubled for both cases of rounding and truncating. Id. at 4:21-
                     28    25.

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                      1          65.    The ’267 Patent overcame these technical challenges in the prior
                      2    systems by inventing a method of maintaining the prediction signals at a higher
                      3    precision during the prediction calculation and then reducing the precision after the
                      4    two or more prediction signals have been combined with each other. Id. at 4:29-
                      5    35. The ’267 Patent employs the unconventional solution of maintaining a higher
                      6    accuracy until the prediction signals have been combined to obtain the bi-
                      7    prediction or multi-prediction signal, which eliminates the need for including a
                      8    rounding direction indicator in the bitstream or the added complexity of alternating
                      9    the rounding directions between frames. Id. at 36-43, 6:51-57. Additionally, with
                     10    the invention of the ’267 Patent, the encoder can transmit residual data based on
                     11    the difference between the combined prediction and the block of pixels, and the
                     12    decoder can reconstruct the block of pixels based on the combined prediction and
                     13    any residual data. Id. at 14:51-59, 15:14-24, 16:14-24.
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                     14          66.    The ’267 Patent therefore provides a specific technological
                     15    improvement to the functionality and capabilities of video coding technology that
                     16    results in reduced complexity, increased efficiency and significant reduction in the
                     17    information to be transmitted and received. Id. at 7:31-38.
                     18          67.    Conventional technology prior to the ’267 Patent was not capable of
                     19    reducing the accumulation of rounding errors in bi-prediction or multi-prediction
                     20    without signaling the rounding offset or using different methods for rounding for
                     21    different frames. Id. at 6:51-57.
                     22          68.    The ’267 Patent recognizes and solves these specific technological
                     23    problems with the conventional video coding technology at the time. The ’267
                     24    Patent’s ability to obtain a first prediction and a second prediction, each having a
                     25    precision which is higher than the precision of the reference pixel values, and after
                     26    combining the first prediction and the second prediction, decreasing the precision
                     27    of said combined prediction by shifting bits of the combined prediction to the right
                     28    such that the residual data in the bitstream is based on the difference between the

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                      1    combined prediction and the block of pixels, and such that the combined prediction
                      2    is used by the decoder to reconstruct the block of pixels, was a significant
                      3    advancement over existing technology.
                      4          69.    The novel solution of the ’267 Patent, including obtaining a first
                      5    prediction and a second prediction, each having a precision which is higher than
                      6    the precision of the reference pixel values, and after adding the first prediction and
                      7    the second prediction with a rounding value, decreasing the precision of said
                      8    combined prediction by shifting bits of the combined prediction to the right such
                      9    that the residual data in the bitstream is based on the difference between the
                     10    combined prediction and the block of pixels, and such that the combined prediction
                     11    is used by the decoder to reconstruct the block of pixels, was not well-understood,
                     12    routine, or conventional, nor was it simply comprised of well-understood, routine,
                     13    and conventional activities previously known to the industry. Furthermore, the
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                     14    ordered combination of elements, including obtaining a first prediction and a
                     15    second prediction, each having a precision which is higher than the precision of
                     16    the reference pixel values, and after adding the first prediction and the second
                     17    prediction with a rounding value, decreasing the precision of said combined
                     18    prediction by shifting bits of the combined prediction to the right such that the
                     19    residual data in the bitstream is based on the difference between the combined
                     20    prediction and the block of pixels, and such that the combined prediction is used
                     21    by the decoder to reconstruct the block of pixels, was not well-understood, routine,
                     22    or conventional.
                     23          C.     U.S. Patent No. 8,050,321 (“the ’321 Patent”)
                     24          70.    The ’321 Patent, entitled “Grouping of Image Frames in Video
                     25    Coding,” issued on November 1, 2011, to inventor Miska Hannuksela. The ’321
                     26    Patent issued from U.S. Patent Application No. 11/338,934, filed on January 25,
                     27    2006, and is a continuation of U.S. Application No. 10/306,942, filed on November
                     28    29, 2002, which claims priority to FI 20020127, filed on January 23, 2002. The

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                      1    ’321 Patent expires on May 19, 2027. A true and correct copy of the ’321 Patent is
                      2    attached as Exhibit 3.
                      3          71.    The ’321 Patent is not directed to merely an abstract idea or any
                      4    patent-ineligible concept. Instead, the ‘321 Patent is directed to novel and
                      5    unconventional improvements to the process of video coding. The ’321 Patent
                      6    provides improvements over prior video coding techniques that result in substantial
                      7    benefits to video compression, video quality, and video playback. These substantial
                      8    benefits are enjoyed by users of the Accused Products when, for example, watching
                      9    video over the Internet.
                     10          72.    Digital video files are comprised of still image frames, which are
                     11    displayed rapidly in succession to create an impression of a moving image. ’321
                     12    Patent at 1:55-58. The image frames typically comprise a number of stationary
                     13    background objects and few moving objects, such that the information in
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                     14    consecutively displayed image frames is typically largely similar. Id. at 1:58-65.
                     15    Many video coding methods make use of this so-called “temporal redundancy” by
                     16    using “motion-compensated temporal prediction,” in which the contents of an
                     17    image frame are predicted from other frames. Id. at 2:16-23. Frames that use
                     18    motion-compensated temporal prediction are also called INTER-frames. Id. at
                     19    2:27-29. Frames that do not use motion-compensated temporal prediction are also
                     20    called INTRA-frames or I-frames. Id. at 2:23-26.
                     21          73.    Both INTER-frames and INTRA-frames may be used in the motion-
                     22    compensated prediction of another frame. However, if a frame that is used in the
                     23    motion-compensated prediction of another frame is lost or corrupted, the frames
                     24    dependent on it can no longer be correctly decoded. Id. at 2:32-33.
                     25          74.    For example, prior to the ’321 Patent, one significant problem
                     26    occurred when a user wanted to stream or browse a video from somewhere other
                     27    than the beginning of the video (e.g., the user wishes to start from a certain position
                     28    such as the middle or where the user left off from a previous viewing). Id. at 3:62-

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                      1    4:4. Prior systems did not include a numbering scheme that allowed the decoder to
                      2    recognize the first I-frame in a sequence of pictures. Id. at 11:11-21. Therefore,
                      3    when streaming or browsing a video file from a point other than the beginning, the
                      4    decoder would interpret starting in the middle of a video stream as an unintentional
                      5    loss of image frames and unnecessarily try to reconstruct the image frames
                      6    suspected as lost. Id. at 11:20-25.
                      7          75.    The ’321 Patent overcame these technical challenges in the prior
                      8    systems by inventing a novel independent sequence of image frames that includes
                      9    an indication of a first picture in an independently decodable group of pictures. Id.
                     10    at 4:16-35. The ’321 Patent employs the unconventional solution of indicating the
                     11    first picture in an independently decodable group of pictures so that it is possible
                     12    for the decoder to start decoding from that first picture and continue the decoding
                     13    process without needing prediction from any image frame prior to that first picture.
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                     14    Id. at 4:16-38.
                     15          76.    The ’321 Patent therefore provides a specific technological
                     16    improvement to the functionality and capabilities of video decoding technology
                     17    that results in increased efficiency and improved video playback. For example, the
                     18    encoder can now enable the decoder to begin decoding from a random point in a
                     19    video stream without any prediction from any prior picture and without storing any
                     20    pictures decoded prior to the first picture of the independent sequence in its
                     21    memory. Id. at 4:48-58. For another example, the indication by an encoder of a
                     22    first picture in an independently decodable group of pictures enables the decoder
                     23    to identify a loss of a picture that is likely to cause unsatisfactory image quality
                     24    and therefore require retransmission or picture refresh. Id. at 4:64-5:5.
                     25          77.    Conventional technology prior to the ’321 Patent was not capable of
                     26    identifying the first image frame of an independent sequence, wherein all motion-
                     27    compensated temporal prediction references of the independent sequence refer
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                      1    only to image frames within the independent sequence, and resetting the identifier
                      2    values for indicated first image frames of independent sequences.
                      3          78.    The ’321 Patent recognizes and solves these specific technological
                      4    problems that plagued the conventional technology at the time. The ’321 Patent’s
                      5    ability to recognize at the decoder an indication of at least one image frame, which
                      6    is the first image frame, in decoding order, of the independent sequence and to
                      7    recognize a reset identifier value for the indicated first image frame of the
                      8    independent sequence was a significant advancement over existing technology.
                      9          79.    The novel solution of the ’321 Patent, which includes decoding from
                     10    the video sequence an indication of at least one image frame, which is the first
                     11    image frame, in decoding order, of the independent sequence and starting the
                     12    decoding sequence from the first image frame of the independent sequence, was
                     13    not well-understood, routine, or conventional, nor was it simply comprised of well-
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                     14    understood, routine, and conventional activities previously known to the industry.
                     15    Furthermore, the ordered combination of elements, including decoding from the
                     16    video sequence an indication of at least one image frame, which is the first image
                     17    frame, in decoding order, of the independent sequence and starting the decoding
                     18    sequence from the indicated first image frame of the independent sequence, was
                     19    not well-understood, routine, or conventional.
                     20          D.     U.S. Patent No. 9,036,701 (“the ’701 Patent”)
                     21          80.    The ’701 Patent, entitled “Method and Apparatus for Providing
                     22    Complexity Balanced Entropy Coding,” issued on May 19, 2015, to inventors Jani
                     23    Lainema, Kemal Ugur, and Antti Olli Hallapuro. The ’701 Patent issued from U.S.
                     24    Patent Application No. 13/192,111, filed on July 27, 2011, and claims priority to
                     25    U.S. Provisional Application No. 61/368,316, filed on July 28, 2010. The ’701
                     26    Patent expires on April 28, 2032. A true and correct copy of the ’701 Patent is
                     27    attached as Exhibit 4.
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                      1          81.    The ’701 Patent is not directed to merely an abstract idea or any
                      2    patent-ineligible concept. Instead, the ’701 Patent is directed to novel and
                      3    unconventional improvements to the process of video coding. The ’701 Patent
                      4    provides improvements over prior video coding techniques that result in substantial
                      5    benefits to video compression, video quality, and video playback. These substantial
                      6    benefits are enjoyed by users of the Accused Products when, for example, watching
                      7    video over the Internet.
                      8          82.    When streaming video content, it is “desirable to maintain high levels
                      9    of capabilities in the most efficient manner possible.” ’701 Patent at 1:37-50.
                     10    Because “the pace of expansion of complexity and processing load continues to
                     11    race forward,” “significant usage of mobile electronic device[s] for the services
                     12    and functions … may typically consume battery power quickly and end up forcing
                     13    the user to frequently recharge the battery or limit their usage, which degrades the
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                     14    user experience.” Id. The ’701 Patent provides a solution to this increasing
                     15    complexity using “complexity balanced entropy coding [which] may be employed
                     16    in order to provide a high level of capability with respect to video coding and
                     17    decoding while keeping the costs in terms of complexity relatively low.” Id. at
                     18    1:54-60.
                     19          83.    The ’701 Patent achieves a complexity balanced entropy coding
                     20    system through “divid[ing] syntax elements that may occur in a given bitstream
                     21    (e.g., a bitstream associated with video content being processed) into categories.
                     22    Id. at 9:51-10:3. In one embodiment, “The first category includes symbols that
                     23    occur relatively infrequently and the second category includes symbols that occur
                     24    relatively frequently.” Id. Thus, “a threshold frequency of occurrence may be
                     25    defined for symbols and those symbols and those symbols that are expected to
                     26    occur more frequently than the threshold frequency may be determined to be in the
                     27    second category while those symbols that are expected to occur less frequently
                     28    than the threshold frequency may be determined to be in the first category.” Id.

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                      1          84.    This categorization allows for decreased complexity because “[a]fter
                      2    categorization has been accomplished … the entropy coding engine 80 may
                      3    perform binarization and/or entropy coding operations employing different
                      4    treatment based on the categories defined by the categorizer.” Id. at 10:4-24. As an
                      5    example, “for the first category, binarization may be accomplished using a selected
                      6    binarization technique … followed by a context update and entropy coding with
                      7    variable bin probabilities.” For the second category, for example, “bypass coding
                      8    may be implemented for a CABAC engine to accomplish the entropy coding.” Id.
                      9    Through using these coding techniques, a system can code “each category
                     10    differently to reduce complexity, the computational complexity as indicated by the
                     11    number of DCT coefficients, is kept below the desired maximum level by utilizing
                     12    context adaptive arithmetic coding while bypassing probability estimation for DCT
                     13    coefficient data for some symbols.” Id. at 11:23-40.
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                     14          85.    The novel solution of the ’701 Patent, including employing a
                     15    complexity balanced entropy coding system, was not well-understood, routine, or
                     16    conventional, nor was it simply comprised of well-understood, routine, and
                     17    conventional activities previously known to the industry. Furthermore, the ordered
                     18    combination of elements, including determining a frequency of occurrence
                     19    threshold based on an expected frequency of occurrence of syntax elements in a bit
                     20    stream, categorizing a plurality of syntax elements of video content into first and
                     21    second categories based on the frequency of occurrence threshold, wherein syntax
                     22    elements which occur greater than the frequency of occurrence threshold are
                     23    categorized into the first category and syntax elements which occur less than the
                     24    frequency of occurrence are categorized into the second category, entropy coding
                     25    symbols that correspond to the first category of syntax elements and that have been
                     26    subjected to a context update and entropy coding symbols that correspond to the
                     27    second category of syntax elements and that have bypassed context updating, was
                     28    not well-understood, routine, or conventional.

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                      1          E.     U.S. Patent No. 7,532,808 (“the ’808 Patent”)

                      2          86.    The ’808 Patent, entitled “Method for Coding Motion in a Video
                      3    Sequence” issued on May 12, 2009, to inventor Jani Lainema. The ’808 Patent
                      4    issued from U.S. Patent Application No. 10/390,549, filed on March 14, 2003, and
                      5    claims priority to U.S. Provisional Application No. 60/365,072, filed on March 15,
                      6    2002. The ’808 Patent expires on December 11, 2025. A true and correct copy of
                      7    the ’808 Patent is attached as Exhibit 5.
                      8          87.    The ’808 Patent is not directed to merely an abstract idea or any
                      9    patent-ineligible concept. Instead, the ’808 Patent is directed to novel and
                     10    unconventional improvements to motion-compensated prediction in the field of
                     11    digital video coding. The ’808 Patent provides improvements over prior motion
                     12    compensated prediction and video compression techniques that result in substantial
                     13    benefits to motion prediction, video compression, video quality, and video
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                     14    playback. These substantial benefits are enjoyed by users of the Accused Products
                     15    when, for example, watching video over the Internet.
                     16          88.    A digital video sequence is a sequence of still images with “the
                     17    illusion of motion being created by displaying consecutive images of the sequence
                     18    on after the other at a relatively fast rate.” ’808 Patent at 1:15-19. These still images
                     19    are referred to as frames. “Each frame of an uncompressed digital video sequence
                     20    comprises an array of image pixels.” Id. at 1:32-33. Frames in commonly used
                     21    video formats may have millions of pixels.
                     22          89.    The ’808 Patent describes that video frames in a given digital video
                     23    sequence may contain various forms of redundancy. Id. at 2:36-46. “Temporal
                     24    redundancy” refers to the fact that “objects appearing in one frame of a sequence
                     25    are likely to appear in subsequent frames.” Id.
                     26          90.     As the ’808 Patent explains, “motion-compensated prediction” can
                     27    take advantage of temporal redundancy to “predict” the image content of some
                     28    frames from “one or more other frames in the sequence, known as ‘reference

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                      1    frames.’” Id. at 3:15-18. Predictions can be achieved by tracking the motion of
                      2    objects or regions of an image between a given frame and one or more reference
                      3    frames. Id. at 3:18-23.
                      4          91.     Prior to the ’808 Patent, some motion-compensated prediction
                      5    techniques involved assigning “coding modes” to “macroblocks” (a region of
                      6    16x16 image pixels in the original image). See id. at 1:64-2:6. One such coding
                      7    mode was referred to as “SKIP” mode. SKIP mode was assigned to macroblocks
                      8    that could be copied from a reference frame without using or having to take into
                      9    account motion-compensated prediction. ’808 Patent at 10:64-67. SKIP mode prior
                     10    to the ’808 Patent provided benefits in certain scenarios without motion from frame
                     11    to frame.
                     12          92.     As explained in the ’808 Patent, “it is necessary for a corresponding
                     13    video decoder to be aware of that coding mode in order for it to correctly decode
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                     14    the received information relating to the macroblock in question.” ’808 Patent at
                     15    11:20-24.     “Therefore, an indication of the coding mode assigned to each
                     16    macroblock is provided in the video bit-stream.” ’808 Patent at 11:24-27. The
                     17    indication is transmitted using a variable length codeword, where “the shortest
                     18    codeword is used to represent the coding mode that is statistically most likely to
                     19    occur.”     ’808 Patent at 11:27-32. At the time of the ’808 Patent (during
                     20    development of what would become the H.264 Standard), SKIP mode was
                     21    assumed to be the most frequently occurring mode.
                     22          93.     However, SKIP mode could not effectively address problems with
                     23    certain types of redundancy within video sequences—for example, global and
                     24    regional motion, such as might occur when phenomena like panning or zooming
                     25    are present in a video sequence. Id. at 12:41-47. For example, redundancies may
                     26    occur in a video sequence when footage is captured by a video camera moving
                     27    horizontally from fixed position or when translational motion occurs, such as when
                     28    a volleyball moves overhead across a court. Prior motion-compensated prediction

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                      1    techniques could not efficiently or effectively handle these scenarios. For example,
                      2    in the prior H.263+ standard, global motion scenario were addressed by using a
                      3    highly complex global motion compensation technique that required the decoder
                      4    to rely on additional information. Id. at 12:48-13:30. This prior solution was
                      5    computationally intensive and less efficient. Id.
                      6          94.    The ’808 Patent overcame these technical challenges in the prior
                      7    systems by inventing an improved skip coding mode. The ’808 Patent’s improved
                      8    skip coding mode can address certain scenarios with motion (or without motion)
                      9    without the need for additional motion data For example, the ’808 Patent teaches
                     10    that the skip coding mode is associated with either a zero (non-active) motion
                     11    vector or a non-zero (active motion vector), where the decision is made by
                     12    analyzing the motion of other macroblocks or sub-blocks in a region surrounding
                     13    the macroblock to be coded. ’808 Patent at 14:23-32. Therefore, for example,
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                     14    “SKIP mode macroblocks can adapt to the motion in the region surrounding them,
                     15    enabling global or regional motion to [be] taken account of in an efficient manner.”
                     16    Id. at 14:48-51.
                     17          95.    The assigned motion vector can then be used by the decoder, for
                     18    example, to form a prediction for the given macroblock with respect to a reference
                     19    frame. These unconventional solutions allow a decoder to, for example, reliably
                     20    and efficiently decode video sequences with a drastically reduced amount of
                     21    information. Because the ’808 Patent inventions use the surrounding macroblocks
                     22    or sub-blocks to determine how the skip coding mode will operate for a given
                     23    image segment, there is no need for the video decoder to use additional information
                     24    in order to decode certain types of motion (or no motion). Id. at 14:52-64.
                     25          96.    The    ’808   Patent   therefore   provides   specific   technological
                     26    improvements to the functionality and capabilities of video coding technology that,
                     27    for example, “not only provides an improvement in coding efficiency in the
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                      1    presence of global motion . . . but also enables regional motion to be represented
                      2    in an efficient manner.” Id. at 14:14-22.
                      3           COUNT I: PATENT INFRINGEMENT OF THE ’714 PATENT
                      4           97.    Nokia incorporates by reference the preceding paragraphs as though
                      5    fully set forth herein.
                      6           98.    ASUS has had knowledge and notice of the ’714 Patent and its
                      7    infringement thereof since at least January 2025, when Nokia provided a claim
                      8    chart for a related patent. Nokia additionally provided a patent list, including a
                      9    related patent, and a corresponding list of infringing products in August 2021.
                     10    ASUS has also received actual notice of the ’714 Patent as of the date this lawsuit
                     11    was filed and/or the date this Original Complaint was served upon ASUS.
                     12           99.    ASUS infringes, contributes to the infringement of, and/or induces
                     13    infringement of the ’714 Patent by making, using, selling, offering for sale, and/or
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                     14    importing into the United States products and/or methods covered by one or more
                     15    claims of the ’714 Patent.
                     16           100. ASUS makes, uses, sells, offers for sale, and/or imports the Accused
                     17    Products in this District and elsewhere in the United States, and thus directly
                     18    infringes the ’714 Patent literally and/or under the Doctrine of Equivalents, in
                     19    violation of 35 U.S.C. § 271.
                     20           101. ASUS also indirectly infringes the ’714 Patent by way of inducement
                     21    and/or contributory infringement, literally or under the doctrine of equivalents in
                     22    violation of 35 U.S.C. § 271 (b), by inducing infringement by others, such as
                     23    ASUS’s customers and end-users, in this District and elsewhere in the United
                     24    States. For example, ASUS’s customers and end-users directly infringe through
                     25    their use of the inventions claimed in the ’714 Patent. ASUS induces this direct
                     26    infringement through its affirmative acts of manufacturing, selling, distributing,
                     27    and/or otherwise making available the Accused Products, and providing
                     28    instructions, documentation, and other information to customers and end-users

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                      1    suggesting they use the Accused Products in an infringing manner, including in-
                      2    store technical support, online technical support, marketing, product manuals,
                      3    advertisements, online documentation, developer information, and API
                      4    documentation. As another example, ASUS instructs and encourages its users to
                      5    use       ASUS      products     to      stream        and   watch      video.     See
                      6    https://www.asus.com/us/news/5qyuhboibnshovki/. As a result of ASUS’s
                      7    inducement, ASUS’s customers and end-users use the Accused Products in the way
                      8    ASUS intends and directly infringe the ’714 Patent. ASUS has performed and
                      9    continues to perform these affirmative acts with knowledge of the ’714 Patent and
                     10    with the intent, or willful blindness, that the induced acts directly infringe the ’714
                     11    Patent.
                     12          102. ASUS also indirectly infringes the ’714 Patent, as provided by 35
                     13    U.S.C. § 271(c), by contributing to direct infringement committed by others, such
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                     14    as customers and end-users, in this District and elsewhere in the United States.
                     15    ASUS’s affirmative acts of selling and offering to sell, in this District and
                     16    elsewhere in the United States, the Accused Products and causing the Accused
                     17    Products to be manufactured, used, sold, and offered for sale contribute to ASUS’s
                     18    customers’ and end-users’ use of the Accused Products, such that the ’714 Patent
                     19    is directly infringed. The accused components within the Accused Products are
                     20    material to the invention of the ’714 Patent, are not staple articles or commodities
                     21    of commerce, have no substantial non-infringing uses, and are known by ASUS to
                     22    be especially made or especially adapted for use in infringement of the ’714 Patent.
                     23    ASUS has performed and continues to perform these affirmative acts with
                     24    knowledge of the ’714 Patent and with intent, or willful blindness, that they cause
                     25    the direct infringement of the ’714 Patent.
                     26          103. Upon information and belief, ASUS derives revenue, directly and
                     27    indirectly, from the activities relating to the Accused Products, including their
                     28    importation, testing, manufacture, use, sale, and offer for sale.

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                      1           104. ASUS’s infringement of the ’714 Patent has damaged and will
                      2    continue to damage Nokia.
                      3           105. A claim chart that applies claim 9 of the ’714 Patent to the Accused
                      4    Products is attached as Exhibit 9. The H.265 Standard referenced in the claim chart
                      5    is attached as Exhibit 7.
                      6           COUNT II: PATENT INFRINGEMENT OF THE ’267 PATENT
                      7           106. Nokia incorporates by reference the preceding paragraphs as though
                      8    fully set forth herein.
                      9           107. ASUS has had knowledge and notice of the ’267 Patent and its
                     10    infringement thereof since at least January 2025, when Nokia provided ASUS with
                     11    a claim chart for a related patent in July 2021. Additionally, Nokia disclosed a
                     12    related patent among a patent list and corresponding list of infringing ASUS
                     13    products in August 2021.
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                     14           108.   ASUS has also received actual notice of the ’267 Patent as of the date
                     15    this lawsuit was filed and/or the date this Original Complaint was served on ASUS.
                     16           109. ASUS infringes, contributes to the infringement of, and/or induces
                     17    infringement of the ’267 Patent by making, using, selling, offering for sale, and/or
                     18    importing into the United States products and/or methods covered by one or more
                     19    claims of the ’267 Patent.
                     20           110. ASUS makes, uses, sells, offers for sale, and/or imports the Accused
                     21    Products in this District and elsewhere in the United States, and thus directly
                     22    infringes the ’267 Patent literally and/or under the Doctrine of Equivalents, in
                     23    violation of 35 U.S.C. § 271.
                     24           111. ASUS also indirectly infringes the ’267 Patent by way of inducement
                     25    and/or contributory infringement, literally or under the doctrine of equivalents in
                     26    violation of 35 U.S.C. § 271 (b), by inducing infringement by others, such as
                     27    ASUS’s customers and end-users, in this District and elsewhere in the United
                     28    States. For example, ASUS’s customers and end-users directly infringe through

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                      1    their use of the inventions claimed in the ’267 Patent. ASUS induces this direct
                      2    infringement through its affirmative acts of manufacturing, selling, distributing,
                      3    and/or otherwise making available the Accused Products, and providing
                      4    instructions, documentation, and other information to customers and end-users
                      5    suggesting they use the Accused Products in an infringing manner, including in-
                      6    store technical support, online technical support, marketing, product manuals,
                      7    advertisements, online documentation, developer information, and API
                      8    documentation. As another example, ASUS instructs and encourages its users to
                      9    use       ASUS      products     to      stream        and   watch      video.     See
                     10    https://www.asus.com/us/news/5qyuhboibnshovki/. As a result of ASUS’s
                     11    inducement, ASUS’s customers and end-users use the Accused Products in the way
                     12    ASUS intends and directly infringe the ’267 Patent. ASUS has performed and
                     13    continues to perform these affirmative acts with knowledge of the ’267 Patent and
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                     14    with the intent, or willful blindness, that the induced acts directly infringe the ’267
                     15    Patent.
                     16          112. ASUS also indirectly infringes the ’267 Patent, as provided by 35
                     17    U.S.C. § 271(c), by contributing to direct infringement committed by others, such
                     18    as customers and end-users, in this District and elsewhere in the United States.
                     19    ASUS’s affirmative acts of selling and offering to sell, in this District and
                     20    elsewhere in the United States, the Accused Products and causing the Accused
                     21    Products to be manufactured, used, sold, and offered for sale contribute to ASUS’s
                     22    customers’ and end-users’ use of the Accused Products, such that the ’267 Patent
                     23    is directly infringed. The accused components within the Accused Products are
                     24    material to the invention of the ’267 Patent, are not staple articles or commodities
                     25    of commerce, have no substantial non-infringing uses, and are known by ASUS to
                     26    be especially made or especially adapted for use in infringement of the ’267 Patent.
                     27    ASUS has performed and continues to perform these affirmative acts with
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                      1    knowledge of the ’267 Patent and with intent, or willful blindness, that they cause
                      2    the direct infringement of the ’267 Patent.
                      3           113. Upon information and belief, ASUS derives revenue, directly and
                      4    indirectly, from the activities relating to the Accused Products, including their
                      5    importation, testing, manufacture, use, sale, and offer for sale.
                      6           114. ASUS’s infringement of the ’267 Patent has damaged and will
                      7    continue to damage Nokia.
                      8           115. Claim charts that apply claim 19 of the ’267 Patent to the Accused
                      9    Products are attached as Exhibits 10 and 11. The H.265 Standard referenced in the
                     10    claim charts is attached as Exhibit 7. The AV1 Specification referenced in the claim
                     11    charts is attached as Exhibit 8.
                     12          COUNT III: PATENT INFRINGEMENT OF THE ’321 PATENT
                     13           116. Nokia incorporates by reference the preceding paragraphs as though
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                     14    fully set forth herein.
                     15           117. ASUS has had knowledge and notice of the ’321 Patent and its
                     16    infringement thereof since at least January 2025, when Nokia identified the patent
                     17    to ASUS. Nokia informed ASUS that it was infringing the ’321 Patent when Nokia
                     18    disclosed the ’321 Patent among a patent list and corresponding list of infringing
                     19    ASUS products provided to ASUS in July 2020, and again in August 2021. Nokia
                     20    additionally provided claim charts for the ’321 Patent in May 2021 and again in
                     21    March 2022. ASUS has also received actual notice of the ’321 Patent as of the date
                     22    this lawsuit was filed and/or the date this Original Complaint was served upon
                     23    ASUS.
                     24           118. ASUS infringes, contributes to the infringement of, and/or induces
                     25    infringement of the ’321 Patent by making, using, selling, offering for sale, and/or
                     26    importing into the United States products and/or methods covered by one or more
                     27    claims of the ’321 Patent.
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                      1          119. ASUS makes, uses, sells, offers for sale, and/or imports the Accused
                      2    Products in this District and elsewhere in the United States, and thus directly
                      3    infringes the ’321 Patent literally and/or under the Doctrine of Equivalents, in
                      4    violation of 35 U.S.C. § 271.
                      5          120. ASUS also indirectly infringes the ’321 Patent by way of inducement
                      6    and/or contributory infringement, literally or under the doctrine of equivalents in
                      7    violation of 35 U.S.C. § 271 (b), by inducing infringement by others, such as
                      8    ASUS’s customers and end-users, in this District and elsewhere in the United
                      9    States. For example, ASUS’s customers and end-users directly infringe through
                     10    their use of the inventions claimed in the ’321 Patent. ASUS induces this direct
                     11    infringement through its affirmative acts of manufacturing, selling, distributing,
                     12    and/or otherwise making available the Accused Products, and providing
                     13    instructions, documentation, and other information to customers and end-users
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                     14    suggesting they use the Accused Products in an infringing manner, including in-
                     15    store technical support, online technical support, marketing, product manuals,
                     16    advertisements, online documentation, developer information, and API
                     17    documentation. As another example, ASUS instructs and encourages its users to
                     18    use       ASUS      products     to      stream        and   watch      video.     See
                     19    https://www.asus.com/us/news/5qyuhboibnshovki/. As a result of ASUS’s
                     20    inducement, ASUS’s customers and end-users use the Accused Products in the way
                     21    ASUS intends and directly infringe the ’321 Patent. ASUS has performed and
                     22    continues to perform these affirmative acts with knowledge of the ’321 Patent and
                     23    with the intent, or willful blindness, that the induced acts directly infringe the ’321
                     24    Patent.
                     25          121. ASUS also indirectly infringes the ’321 Patent, as provided by 35
                     26    U.S.C. § 271(c), by contributing to direct infringement committed by others, such
                     27    as customers and end-users, in this District and elsewhere in the United States.
                     28    ASUS’s affirmative acts of selling and offering to sell, in this District and

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                      1    elsewhere in the United States, the Accused Products and causing the Accused
                      2    Products to be manufactured, used, sold, and offered for sale contribute to ASUS’s
                      3    customers’ and end-users’ use of the Accused Products, such that the ’321 Patent
                      4    is directly infringed. The accused components within the Accused Products are
                      5    material to the invention of the ’321 Patent, are not staple articles or commodities
                      6    of commerce, have no substantial non-infringing uses, and are known by ASUS to
                      7    be especially made or especially adapted for use in infringement of the ’321 Patent.
                      8    ASUS has performed and continues to perform these affirmative acts with
                      9    knowledge of the ’321 Patent and with intent, or willful blindness, that they cause
                     10    the direct infringement of the ’321 Patent.
                     11           122. Upon information and belief, ASUS derives revenue, directly and
                     12    indirectly, from the activities relating to the Accused Products, including their
                     13    importation, testing, manufacture, use, sale, and offer for sale.
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                     14           123. ASUS’s infringement of the ’321 Patent has damaged and will
                     15    continue to damage Nokia.
                     16           124. Claim charts that apply claim 8 of the ’321 Patent to the Accused
                     17    Products are attached as Exhibits 12, 13, and 14. The H.264 Standard referenced
                     18    in the claim charts is attached as Exhibit 6. The H.265 Standard referenced in the
                     19    claim charts is attached as Exhibit 7. The AV1 Specification referenced in the claim
                     20    charts is attached as Exhibit 8.
                     21          COUNT IV: PATENT INFRINGEMENT OF THE ’701 PATENT
                     22           125. Nokia incorporates by reference the preceding paragraphs as though
                     23    fully set forth herein.
                     24           126. ASUS has had knowledge and notice of the ’701 Patent and its
                     25    infringement thereof since at least January 2025, when Nokia identified the patent
                     26    to ASUS. Nokia informed ASUS that it was infringing the ’701 Patent when Nokia
                     27    disclosed the ’701 Patent among a patent list and corresponding list of infringing
                     28    ASUS products provided to ASUS in July 2020, and again in August 2021. Nokia

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                      1    additionally provided claim charts for the ’701 Patent in May 2021 and again in
                      2    March 2022. ASUS has also received actual notice of the ’701 Patent as of the date
                      3    this lawsuit was filed and/or the date this Original Complaint was served upon
                      4    ASUS.
                      5          127. ASUS infringes, contributes to the infringement of, and/or induces
                      6    infringement of the ’701 Patent by making, using, selling, offering for sale, and/or
                      7    importing into the United States products and/or methods covered by one or more
                      8    claims of the ’701 Patent.
                      9          128. ASUS makes, uses, sells, offers for sale, and/or imports the Accused
                     10    Products in this District and elsewhere in the United States, and thus directly
                     11    infringes the ’701 Patent literally and/or under the Doctrine of Equivalents, in
                     12    violation of 35 U.S.C. § 271.
                     13          129. ASUS also indirectly infringes the ’701 Patent by way of inducement
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                     14    and/or contributory infringement, literally or under the doctrine of equivalents in
                     15    violation of 35 U.S.C. § 271 (b), by inducing infringement by others, such as
                     16    ASUS’s customers and end-users, in this District and elsewhere in the United
                     17    States. For example, ASUS’s customers and end-users directly infringe through
                     18    their use of the inventions claimed in the ’701 Patent. ASUS induces this direct
                     19    infringement through its affirmative acts of manufacturing, selling, distributing,
                     20    and/or otherwise making available the Accused Products, and providing
                     21    instructions, documentation, and other information to customers and end-users
                     22    suggesting they use the Accused Products in an infringing manner, including in-
                     23    store technical support, online technical support, marketing, product manuals,
                     24    advertisements, online documentation, developer information, and API
                     25    documentation. As another example, ASUS instructs and encourages its users to
                     26    use     ASUS        products    to      stream        and   watch     video.    See
                     27    https://www.asus.com/us/news/5qyuhboibnshovki/. As a result of ASUS’s
                     28    inducement, ASUS’s customers and end-users use the Accused Products in the way

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                      1    ASUS intends and directly infringe the ’701 Patent. ASUS has performed and
                      2    continues to perform these affirmative acts with knowledge of the ’701 Patent and
                      3    with the intent, or willful blindness, that the induced acts directly infringe the ’701
                      4    Patent.
                      5          130. ASUS also indirectly infringes the ’701 Patent, as provided by 35
                      6    U.S.C. § 271(c), by contributing to direct infringement committed by others, such
                      7    as customers and end-users, in this District and elsewhere in the United States.
                      8    ASUS’s affirmative acts of selling and offering to sell, in this District and
                      9    elsewhere in the United States, the Accused Products and causing the Accused
                     10    Products to be manufactured, used, sold, and offered for sale contribute to ASUS’s
                     11    customers’ and end-users’ use of the Accused Products, such that the ’701 Patent
                     12    is directly infringed. The accused components within the Accused Products are
                     13    material to the invention of the ’701 Patent, are not staple articles or commodities
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                     14    of commerce, have no substantial non-infringing uses, and are known by ASUS to
                     15    be especially made or especially adapted for use in infringement of the ’701 Patent.
                     16    ASUS has performed and continues to perform these affirmative acts with
                     17    knowledge of the ’701 Patent and with intent, or willful blindness, that they cause
                     18    the direct infringement of the ’701 Patent.
                     19          131. Upon information and belief, ASUS derives revenue, directly and
                     20    indirectly, from the activities relating to the Accused Products, including their
                     21    importation, testing, manufacture, use, sale, and offer for sale.
                     22          132. ASUS’s infringement of the ’701 Patent has damaged and will
                     23    continue to damage Nokia.
                     24          133. A claim chart that applies claim 1 of the ’701 Patent to the Accused
                     25    Products is attached as Exhibit 15. The H.265 Standard referenced in the claim
                     26    chart is attached as Exhibit 7.
                     27              COUNT V: PATENT INFRINGEMENT OF THE ’808 PATENT
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                      1          134. ASUS has had knowledge and notice of the ’808 Patent and its
                      2    infringement thereof since at least January 2025, when Nokia identified the patent
                      3    to ASUS. Nokia informed ASUS that it was infringing the ’808 Patent when Nokia
                      4    disclosed the ’808 Patent among a patent list and corresponding list of infringing
                      5    ASUS products provided to ASUS in July 2020, and again in August 2021. Nokia
                      6    additionally provided claim charts for the ’808 Patent in May 2021 and again in
                      7    March 2022. ASUS has also received actual notice of the ’808 Patent as of the date
                      8    this lawsuit was filed and/or the date this Original Complaint was served upon
                      9    ASUS.
                     10          135. ASUS infringes, contributes to the infringement of, and/or induces
                     11    infringement of the ’808 Patent by making, using, selling, offering for sale, and/or
                     12    importing into the United States products and/or methods covered by one or more
                     13    claims of the ’808 Patent.
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                     14          136. ASUS makes, uses, sells, offers for sale, and/or imports the Accused
                     15    Products in this District and elsewhere in the United States, and thus directly
                     16    infringes the ’808 Patent literally and/or under the Doctrine of Equivalents, in
                     17    violation of 35 U.S.C. § 271.
                     18          137. ASUS also indirectly infringes the ’808 Patent by way of inducement
                     19    and/or contributory infringement, literally or under the doctrine of equivalents in
                     20    violation of 35 U.S.C. § 271 (b), by inducing infringement by others, such as
                     21    ASUS’s customers and end-users, in this District and elsewhere in the United
                     22    States. For example, ASUS’s customers and end-users directly infringe through
                     23    their use of the inventions claimed in the ’808 Patent. ASUS induces this direct
                     24    infringement through its affirmative acts of manufacturing, selling, distributing,
                     25    and/or otherwise making available the Accused Products, and providing
                     26    instructions, documentation, and other information to customers and end-users
                     27    suggesting they use the Accused Products in an infringing manner, including in-
                     28    store technical support, online technical support, marketing, product manuals,

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                      1    advertisements, online documentation, developer information, and API
                      2    documentation. As another example, ASUS instructs and encourages its users to
                      3    use       ASUS      products     to      stream        and   watch      video.     See
                      4    https://www.asus.com/us/news/5qyuhboibnshovki/. As a result of ASUS’s
                      5    inducement, ASUS’s customers and end-users use the Accused Products in the way
                      6    ASUS intends and directly infringe the ’808 Patent. ASUS has performed and
                      7    continues to perform these affirmative acts with knowledge of the ’808 Patent and
                      8    with the intent, or willful blindness, that the induced acts directly infringe the ’808
                      9    Patent.
                     10          138. ASUS also indirectly infringes the ’808 Patent, as provided by 35
                     11    U.S.C. § 271(c), by contributing to direct infringement committed by others, such
                     12    as customers and end-users, in this District and elsewhere in the United States.
                     13    ASUS’s affirmative acts of selling and offering to sell, in this District and
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                     14    elsewhere in the United States, the Accused Products and causing the Accused
                     15    Products to be manufactured, used, sold, and offered for sale contribute to ASUS’s
                     16    customers’ and end-users’ use of the Accused Products, such that the ’808 Patent
                     17    is directly infringed. The accused components within the Accused Products are
                     18    material to the invention of the ’808 Patent, are not staple articles or commodities
                     19    of commerce, have no substantial non-infringing uses, and are known by ASUS to
                     20    be especially made or especially adapted for use in infringement of the ’808 Patent.
                     21    ASUS has performed and continues to perform these affirmative acts with
                     22    knowledge of the ’808 Patent and with intent, or willful blindness, that they cause
                     23    the direct infringement of the ’808 Patent.
                     24          139. Upon information and belief, ASUS derives revenue, directly and
                     25    indirectly, from the activities relating to the Accused Products, including their
                     26    importation, testing, manufacture, use, sale, and offer for sale.
                     27          140. ASUS’s infringement of the ’808 Patent has damaged and will
                     28    continue to damage Nokia.

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                      1           141. A claim chart that applies claim 7 of the ’808 Patent to the Accused
                      2    Products is attached as Exhibit 16. The H.264 Standard referenced in the claim
                      3    chart is attached as Exhibit 6.
                      4          COUNT VI: DECLARATORY JUDGMENT THAT NOKIA HAS
                      5       NEGOTIATED IN GOOD FAITH TOWARD A LICENSE WITH ASUS
                      6                AND COMPLIED WITH ITS RAND COMMITMENTS
                      7           142. Nokia incorporates by reference the preceding paragraphs as though
                      8    fully set forth herein.
                      9           143. ASUS designs, manufactures, and markets products that utilize and
                     10    comply with the one or more technical standards, such as the ITU H.264 and H.265
                     11    Standards. ASUS requires a license to one or more of Nokia’s essential patent
                     12    claims.
                     13           144. Nokia has voluntarily declared to ITU that it is prepared to grant
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                     14    licenses to its essential H.264 and H.265 patent claims on a worldwide, non-
                     15    discriminatory basis and on reasonable terms and conditions.
                     16           145. Nokia has at all times been prepared and willing to grant a license to
                     17    ASUS under its essential patent claims. To that end, Nokia has negotiated in good
                     18    faith with ASUS since at least 2017. During that time, Nokia provided ASUS with
                     19    lists of patents having claims essential to the H.264 and H.265 Standards and
                     20    exemplary H.265 decoding claim charts. Nokia also identified ASUS end user
                     21    devices that infringe Nokia’s H.264 and/or H.265 essential patent claims.
                     22           146. A dispute exists between Nokia and ASUS concerning whether Nokia
                     23    has negotiated in good faith toward a license with ASUS and complied with the
                     24    ITU Common Patent Policy and Nokia’s relevant Patent Statement and Licensing
                     25    Declarations, as well as applicable laws. There is a case or controversy of sufficient
                     26    immediacy, reality, and ripeness to warrant the issuance of a declaratory judgment.
                     27           147. Nokia seeks a declaration that Nokia has negotiated in good faith
                     28    toward a license with ASUS and has complied with its obligations under the ITU

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                      1    Common Patent Policy and commitments under Nokia’s relevant Patent Statement
                      2    and Licensing Declarations.
                      3      COUNT VII: BREACH OF ASUS’S OBLIGATION TO NEGOTIATE IN
                      4                 GOOD FAITH TOWARD A LICENSE WITH NOKIA
                      5           148. Nokia incorporates by reference the preceding paragraphs as though
                      6    fully set forth herein.
                      7           149. ASUS is obligated to negotiate in good faith with Nokia with regard
                      8    to concluding a license for Nokia’s patent claims essential to the H.264 and H.265
                      9    standards. ASUS has failed to negotiate in good faith with Nokia and therefore
                     10    breached its obligation. For example, ASUS has delayed negotiations and failed to
                     11    accept Nokia’s offers. ASUS’s conduct was unreasonable and did not reflect a
                     12    sincere interest in timely concluding a license.
                     13           150. There is a dispute between Nokia and ASUS concerning whether
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                     14    ASUS has complied with its obligation to negotiate in good faith toward
                     15    concluding a license to the essential claims of the Asserted Patents. This
                     16    controversy is of sufficient immediacy, reality, and ripeness to warrant the issuance
                     17    of a declaratory judgment.
                     18           151. Nokia is entitled to a declaratory judgment that ASUS has not
                     19    complied with its obligation to act in good faith during its negotiations with Nokia,
                     20    in regard to RAND terms for a license to the parties’ essential patent claims, and
                     21    as a consequence, that ASUS has repudiated and forfeited its ability to claim rights
                     22    as a third-party beneficiary of Nokia’s RAND commitment to ITU to the extent
                     23    applicable to the essential claims of Nokia’s patents.
                     24           152. In addition to a declaration, Nokia also requests an award of damages
                     25    for the expenses it has incurred because of ASUS’s failure to negotiate in good
                     26    faith with Nokia.
                     27                                   ATTORNEYS’ FEES
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                      1             153. Nokia is entitled to recover reasonable and necessary attorneys’ fees
                      2    under applicable law.
                      3                                    PRAYER FOR RELIEF
                      4             WHEREFORE, Nokia respectfully requests that this Court enter judgment
                      5    in its favor as follows and afford Nokia the following relief:
                      6         I.     adjudge and declare that ASUS infringes claims of the Asserted Patents;
                      7        II.     adjudge and declare that ASUS’s infringement of claims of the Asserted
                      8                Patents was willful, and that ASUS’s continued infringement is willful;
                      9       III.     award Nokia its actual damages;
                     10       IV.      award Nokia enhanced damages pursuant to 35 U.S.C. § 284;
                     11        V.      award Nokia pre-judgment and post-judgment interest to the full extent
                     12                allowed under the law, as well as its costs;
                     13       VI.      as to claims that are not essential to the H.264 or H.265 Standards, enter
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                     14                an injunction precluding ASUS and any entities in active concert with it
                     15                from future acts of infringement;
                     16      VII.      as to claims that are essential to the H.264 or H.265 Standards, to the
                     17                extent necessary (a) Nokia is adjudicated to have complied with its
                     18                commitment to the ITU that it be prepared to grant licenses to its essential
                     19                patent claims on reasonable, and non-discriminatory terms; or (b) ASUS
                     20                is adjudicated to have failed to negotiate in good faith with Nokia, and/or
                     21                is adjudicated to have lost the right to claim benefits under Nokia’s
                     22                relevant Patent Statement and Licensing Declarations; enter an
                     23                injunction precluding ASUS and any entities in active concert with
                     24                ASUS from future acts of infringement;
                     25      VIII.     adjudge and declare that this is an exceptional case and award Nokia its
                     26                reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;
                     27       IX.      order an accounting of damages for acts of infringement;
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                      1        X.    adjudge and declare that Nokia has negotiated in good faith toward
                      2              concluding a license with ASUS and complied with its obligations under
                      3              the relevant standard development organization IPR policies and
                      4              commitments under Nokia’s relevant standard development organization
                      5              declarations, as well as applicable laws;
                      6       XI.    adjudge and declare that ASUS failed to negotiate in good faith toward
                      7              concluding a license with Nokia, and has thus lost or forfeited its right to
                      8              claim third-party beneficiary status, including under Nokia’s relevant
                      9              ITU Patent Statement and Licensing Declarations to the extent applicable
                     10              to the essential claims of the Asserted Patents;
                     11      XII.    award Nokia its costs of suit; and
                     12      XIII.   award such other equitable relief which may be requested and to which
                     13              Nokia is entitled.
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                      1                               DEMAND FOR JURY TRIAL
                      2           In accordance with Rule 38 of the Federal Rules of Civil Procedure and
                      3    Local Rule CV-38-1, Plaintiff respectfully demands a jury trial of all issues triable
                      4    to a jury.
                      5    Dated:                                        Respectfully submitted
                      6
                                                                         /S/ Alan P. Block
                      7
                                                                         Alan P. Block
                      8                                                  MCKOOL SMITH, P.C.
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